Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 1 of 12 PageID #: 802
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 2 of 12 PageID #: 803
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 3 of 12 PageID #: 804
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 4 of 12 PageID #: 805
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 5 of 12 PageID #: 806
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 6 of 12 PageID #: 807
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 7 of 12 PageID #: 808
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 8 of 12 PageID #: 809
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 9 of 12 PageID #: 810
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 10 of 12 PageID #: 811
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 11 of 12 PageID #: 812
Case: 4:99-md-01264-CDP Doc. #: 571 Filed: 09/30/02 Page: 12 of 12 PageID #: 813
